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 5                             IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
 6
     CALIFORNIA COALITION FOR WOMEN
 7   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;          CASE NO. 4:23-CV-04155-YGR
     G.M.; A.S.; and L.T., individuals on behalf of
 8   themselves and all others similarly situated,
 9                             Plaintiffs                [PROPOSED] ORDER GRANTING
                         v.                              ADMINISTRATIVE MOTION FOR REMOTE
10                                                       APPEARANCE
     UNITED STATES OF AMERICA FEDERAL
11   BUREAU OF PRISONS, a governmental entity;
     BUREAU OF PRISONS DIRECTOR
12   COLETTE PETERS, in her official capacity;
     FCI DUBLIN WARDEN THAHESHA JUSINO,
13   in her official capacity; OFFICER
     BELLHOUSE, in his individual capacity;
14   OFFICER GACAD, in his individual capacity;
     OFFICER JONES, in his individual capacity;
15   LIEUTENANT JONES, in her individual
     capacity; OFFICER LEWIS, in his individual
16   capacity; OFFICER NUNLEY, in his individual
     capacity, OFFICER POOL, in his individual
17   capacity, LIEUTENANT PUTNAM, in his
     individual capacity; OFFICER SERRANO, in
18   his individual capacity; OFFICER SHIRLEY, in
     his individual capacity; OFFICER SMITH, in his
19   individual capacity; and OFFICER VASQUEZ,
     in her individual capacity,
20
                              Defendants.
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22            Upon consideration of the Administrative Motion for Remote Appearance filed by the United
23 States of America, and for good cause shown, IT IS HEREBY ORDERED that the Administrative

24 Motion is GRANTED. Abbie Cziok may appear remotely at the February 27, 2024 hearing.

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     DATED: _________________
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28                                                             _________________________________

     [PROPOSED] ORDER RE: MOTION FOR REMOTE APPEARANCE
     4:23-cv-04155-YGR                                   1
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 1                                                           HON. YVONNE GONZALEZ ROGERS
                                                             United States District Judge
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     [PROPOSED] ORDER RE: MOTION FOR REMOTE APPEARANCE
     4:23-cv-04155-YGR                                   2
